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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

ROTHSCHILD MOBILE IMAGING                )
INNOVATIONS, LLC,                        )
                                         )
           Plaintiff,                    )
                                         )   C.A. No. 14-617-GMS
v.                                       )
MITEK SYSTEMS, INC.,                     )   JURY TRIAL DEMANDED
JPMORGAN CHASE & CO. and                 )
JPMORGAN CHASE BANK, N.A.,               )
                                         )
           Defendants.                   )
ROTHSCHILD MOBILE IMAGING                )
INNOVATIONS, LLC,                        )
                                         )
           Plaintiff,                    )   C.A. No. 14-1142-GMS
v.                                       )
                                         )   JURY TRIAL DEMANDED
BANK OF AMERICA CORPORATION,
BANK OF AMERICA, N.A.,                   )
NCR CORPORATION and                      )
MITEK SYSTEMS, INC.,                     )
                                         )
           Defendants.
                                         )

ROTHSCHILD MOBILE IMAGING                )
INNOVATIONS, LLC,                        )
                                         )
           Plaintiff,                    )   C.A. No. 14-1143-GMS
v.                                       )
                                         )   JURY TRIAL DEMANDED
CITIGROUP INC., CITIBANK, N.A.,          )
NCR CORPORATION and                      )
MITEK SYSTEMS, INC.,                     )
                                         )
           Defendants.                   )
                                         )




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ROTHSCHILD MOBILE IMAGING                            )
INNOVATIONS, LLC,                                    )
                                                     )
               Plaintiff,                            )
                                                     )   C.A. No. 14-1144-GMS
v.                                                   )
                                                     )   JURY TRIAL DEMANDED
WELLS FARGO & COMPANY,
                                                     )
WELLS FARGO BANK, N.A., FISERV, INC.
and MITEK SYSTEMS, INC.,                             )
                                                     )
               Defendants.                           )

                       DECLARATION OF LEIGH M. ROTHSCHILD

I, Leigh M. Rothschild, hereby declare as follows:

     1. I am the Managing Director of Plaintiff Rothschild Mobile Imaging Innovations, LLC

(“RMII”) in the above-captioned cases. I am more than 21 years old, and am competent to make

this declaration. All of the statements set forth herein are true and correct and are based on my

personal knowledge or a reasonable investigation of records sufficient to support the statements.

I am also the inventor of the patents in suit.

     2. On December 14, 2015, I participated in a call with Jim DeBello, who I understood was

the CEO of Mitek Systems, Inc. (“Mitek”). The purpose of the call was to determine whether the

parties were amenable to settlement.

     3. When I declined Mitek’s settlement offer, Mr. DeBello became very emotional and

agitated and raised his voice to an unprofessional level. To the best of my recollection, Mr.

DeBello told me I was similar to a bank robber, should be ashamed of myself, and asserted that

Mitek would beat us down in litigation.




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        I declare under penalty of perjury that the foregoing is true and correct on September 28,

2016.


                                                     ______________________
                                                     Leigh M. Rothschild.




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